       Case
Detention Order1:10-cr-20467-TLL-PTM
               Pending Trial           ECF No. 8, PageID.16 Filed 09/01/10 Page 1 of 6


                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION

UNITED STATES OF AMERICA
                                                            Case No: 10-20467
v.

ERIC CAMPBELL,

      Defendant
                                          /

                            DETENTION ORDER PENDING TRIAL

After conducting a detention hearing under the Bail Reform Act, 18 U.S.C. § 3142(f), I conclude

that these facts require that Defendant be detained pending trial.



Part I - Findings of Fact

A.     Motion to Detain (18 U.S.C. §§ 3142(a) and 3142(f)(1))

XX    (1)    The Government moved for detention at Defendant’s first appearance pursuant

             to:

             XX     18 U.S.C. § 3142(f)(1).

             __      18 U.S.C. § 3142(f)(2).

__     (2)   A detention hearing was held on this judicial officer’s motion pursuant to 18 U.S.C.

             § 3142(f)(2). See part D for findings.

B.    Rebuttable Presumption – Defendant on Release Pending Trial (18 U.S.C. §3142(e)(2))

__     (1)   Defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1), and has

             previously been convicted of a crime listed in 18 U.S.C. § 3142(f)(1), or

             comparable state or local offense.

__     (2)   The offense described in finding was committed while Defendant was on release

             pending trial for a federal, state or local offense.


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__      (3)     A period of less than five years has elapsed since

        __      the date of conviction, or

        __      Defendant’s release from prison for the offense described in finding (B)(1).

__      (4)     Findings (B)(1), (2) and (3) establish a rebuttable presumption that no condition or

                combination of conditions will reasonably assure the safety of another person or

                the community.

C.      Rebuttable Presumption – Probable Cause (18 U.S.C. § 3142(e)(3))

There is probable cause to believe that Defendant has committed an offense:

        XX      for which a maximum prison term of ten years or more is prescribed in the

                Controlled Substances Act1, or

        __      under 18 U.S.C. § 924(c), 18 U.S.C. § 956(a) or 18 U.S.C. § 2332b, or

        __      listed in 18 U.S.C. § 2332b(g)(5) (federal crimes of terrorism) for which the prison

                term is 10 or more years, or

        __      listed in 18 U.S.C. §§ 1581-1594 (slavery or trafficking in persons), or

        __      involving a minor victim listed in 18 U.S.C. § 3142(e)(3)(E).

D.      Findings Pursuant to 18 U.S.C. § 3142(f)(2)

__      (1)     There is a serious risk that Defendant will not appear.

__      (2)     There is a serious risk that Defendant will endanger the safety of another person

                or the community.



Part II - Statement of the Reasons for Detention

        1
         Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances
Import and Export Act (21 U.S.C. § 951 et seq.); or (c) Section 1 of Act of Sept. 15, 1980 (21 U.S.C. § 955a).

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I find that the testimony and information submitted at the detention hearing establishes:

__    by clear and convincing evidence that, for the reasons set forth below, there is no

      condition or combination of conditions which will reasonably assure the safety of the

      community; or

__    by a preponderance of the evidence that, for the reasons set forth below, there is no

      condition or combination of conditions which will reasonably assure Defendant’s

      appearance; or

XX    both of the above.

Statement of reasons for detention pursuant to 42 U.S.C. § 3142(i):

      Having concluded that the Government timely moved for detention pursuant to 18

U.S.C. § 3142(a) in a case described in 18 U.S.C. § 3142(f), and that a rebuttable

presumption in favor of detention applies in this case, the Court must consider whether

there is sufficient evidence on the record to rebut the presumption under the factors set

forth in subsection 3142(g).

      As to the factors set forth in subsections (g)(1) and (g)(2), I find that the offense

charged involves narcotic drugs, specifically crack cocaine. I find that from the grand jury

having returned an indictment, there is a definite weight of evidence, at least rising to the

level of probable cause, supporting the charges against Defendant.

      As to subsection 3142(g)(3), I find that Defendant is currently 51 years of age. He

is presently divorced and for the past two years has been living by himself at an

apartment on South Washington Avenue in Saginaw, Michigan. Defendant has resided

in the Saginaw area since 2000. He previously resided in Norfolk, Virginia, and Salt Lake

City, Utah. The Pretrial Services report indicates that Defendant is disabled and suffers


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from medical conditions including lupus. He is currently taking a number of prescription

medications including Prednisone and Vicodin. Defendant has not worked for the past

five years. Defendant conceded to Pretrial Services that he has been smoking marijuana

for at least the last 35 years. Preliminary urinalysis screening was positive for marijuana.

Defendant admitted using cocaine for the last 30 years and that he occasionally smokes

crack cocaine. Defendant also conceded to Pretrial Services that he drinks alcohol daily.

      At age 17, Defendant was convicted of felony armed robbery. In 1998 and 1999,

Defendant pled guilty to misdemeanor domestic violence. After the second conviction,

Defendant was placed on six months’ probation and sentenced to 45 days in jail. While

on that probation, Defendant was again charged with felony domestic violence, third

offense, and pled guilty to misdemeanor domestic violence. He received 180 days in jail.

Counsel for Defendant represents that these convictions arose out of a tumultuous

relationship in which Defendant is no longer involved. More recently, however, in 2006,

Defendant was again charged with felony domestic violence, third offense, and pled guilty

to that charge in July 2006. Thereafter, Defendant failed to appear for his pre-sentence

investigation interview and a bench warrant was issued in September 2006.

      In March 2007, Defendant was apprehended and arraigned on the bench warrant.

Bond was reinstated. Defendant then failed to appear for his sentencing and the court

granted a motion to revoke his bond. Defendant was apprehended in early May 2007,

and on May 29, 2007, Defendant was sentenced to 36 months’ probation as well as

community service. Within two months of beginning his probationary sentence, another

bench warrant was issued and in September 2007 Defendant was arraigned and shortly

thereafter he was sentenced to 45 days in jail with credit for time served.

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      Four months later, another bench warrant was issued for a probation violation.

While this bench warrant was outstanding, in late March 2008, Defendant was charged

with felony assault with a dangerous weapon and felony domestic violence, third offense.

The latter charge was bound over to Saginaw County Circuit Court, indicating that the

state court found probable cause supporting at least this charge. While awaiting trial on

these charges in April 2008, Defendant was sentenced on his probation violation to nine

months in jail with credit for 61 days served. His probation was revoked.

      Trial on the felony weapons and domestic violence charges was scheduled for mid-

August 2008, however, the prosecution was forced to move to dismiss the case as the

complaining witness failed to appear. Although dismissed cases are not normally

considered under 18 U.S.C. § 3142(g), I believe it appropriate to note that the failure of

a witness to appear in a domestic violence matter is not uncommon and can indicate the

possibility that the witness was intimidated and failed to appear out of fear for his or her

safety.

      Counsel for Defendant proffers that Defendant’s brother, who lives in the same

building as Defendant, has no prior criminal history, and has expressed a strong

willingness to assist, could serve as a third-party custodian. While I am impressed by the

willingness of Defendant’s brother to support Defendant, it appears that thus far the best

efforts of Defendant’s brother have failed to control Defendant’s behavior while on this

most recent supervision. As a result, while Defendant’s brother may have the best of

intentions, I believe it inappropriate in light of Defendant’s past history to now place his

brother in the difficult position of third-party custodian.



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        Accordingly, in light of Defendant’s recent criminal history, his use of controlled

substances, and his essentially complete failure to abide by the conditions of his most

recent court supervision on charges considerably less serious than those he now faces,

I conclude that the presumption in favor of detention has not been rebutted on the

evidence presented. I further conclude that, for the same reasons, I am unable to craft

any conditions or combination of conditions that I believe would reasonably assure the

safety of the community or Defendant’s appearance as required.                             The Government’s

motion to detain will be therefore be GRANTED.



Part III - Directions Regarding Detention

Defendant is committed to the custody of the Attorney General or a designated representative

for confinement in a corrections facility separate, to the extent practicable, from persons awaiting

or serving sentences or held in custody pending appeal. Defendant must be afforded a

reasonable opportunity to consult privately with defense counsel. On order of United States

Court or on request of an attorney for the Government, the person in charge of the corrections

facility must deliver Defendant to the United States marshal for a court appearance.

Review of this Order is governed by 18 U.S.C. § 3145 and E.D. Mich. L.R. 57.2.



                                                             s/    Charles E Binder
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                                                           CHARLES E. BINDER
Dated: September 1, 2010                                   United States Magistrate Judge


                                                 CERTIFICATION

       I hereby certify that this Report and Recommendation was electronically filed this date, electronically served
on Roy Kranz and Jeffrey Day, and served on District Judge Ludington in the traditional manner.

Date: September 1, 2010                   By    s/Jean L. Broucek
                                          Case Manager to Magistrate Judge Binder

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